                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

WILLIAM TISDALE

      Plaintiff

vs.                                                       CASE NO.

MARQUETTE TRANSPORTATION
COMPANY, LLC; MARQUETTE
TRANSPORTATION COMPANY
GULF-INLAND LLC; MARQUETTE
TRANSPORATIONS COMPANY
OFFSHORE, LLC AND DEFENDANTS A-Z

      Defendants


                           COMPLAINT FOR DAMAGES, AND/OR
                   FOR JONES ACT NEGLIGENCE, UNSEAWORTHINESS AND
                   MAINTENACE AND CURE AND ANY AND ALL REMEDIES
                        AVAIALBE UNDER GENERAL MARITIME LAW


                                     Jury Trial Demanded

         COMES NOW the Plaintiff, WILLIAM TISDALE, by and through his undersigned

counsel, Joseph A. LoCoco, at LoCoco & LoCoco, PLLC, and hereby brings this action against

Defendants, Marquette Transportation Company, LLC, Marquette Transportation Company, Gulf-

Inland, LLC; Marquette Transportation Company Offshore, LLC, and would show as follows:

                                               I.

         Plaintiff, WILLIAM TISDALE, is a person of full age of majority who is a resident of

D’Iberville, Mississippi, Harrison County, Mississippi.

                                               II.

         Upon information and belief, Defendant, MARQUETTE TRANSPORTATION

COMPANY, LLC., (hereby known as MARQUETTE) is incorporated in the State of Delaware,
with principal place of business and home office located in Harahan, Jefferson Parish, Louisiana

or St. Rose, St. Charles Parish Louisiana. Marquette may be served with process through its

registered agent at 12228 Woodville Street, Clinton, Louisiana 70722.

                                                III.

       Upon information and belief, Defendant, MARQUETTE TRANSPORTATION

COMPANY GULF-INLAND, LLC., (hereby known as “GULF-INLAND”) is incorporated in the

State of Delaware, with principal place of business and home office located in St. Rose, St. Charles

Parish, LA. Gulf-Inland may be served with process through its registered agent at 12228

Woodville Street, Clinton, Louisiana 70722.

                                                IV.

       Upon information and belief, Defendant, MARQUETTE TRANSPORTATION

COMPANY OFFSHORE, LLC., (hereby known as “OFFSHORE” is incorporated in the State of

Delaware, with principal place of business and home office located in Lockport, Lafourche Parish,

LA. Offshore may be served with process through its registered agent at 12228 Woodville Street,

Clinton, Louisiana 70722.

                                                V.

       Upon information and belief, Defendants A-Z are individuals, corporations, and other

entities whose names and addresses are unknown to Plaintiff at this time, and who caused or

contributed to the injuries and damages to the Plaintiff, but whose true identity and/or liability

have not been ascertained at this time. All allegations and claims asserted herein against any

Defendant is incorporated herein by reference against Defendants A-Z.




                                          Page 2 of 10
                                               VI.

       This Court has subject matter jurisdiction to entertain this action and the amount of

controversy is beyond his jurisdiction of limits pursuant to Diversity of Citizenship 28 USC §1332.

Alternatively, and/or additionally, pursuant to the Jones Act and General Maritime Law.

       This Court is the proper venue to maintain this action as the Defendants principal place of

business and home office is in Jefferson Parish, St. Charles Parish, and Lafourche Parish,

Louisiana, collectively. The Plaintiff signed a venue selection agreement requiring that this

matter be filed in this Court.

                                 FACTUAL ALLEGATIONS

                                               VII.

       On March 13, 2019, Plaintiff was working for Marquette in the waters near Greens Bayou

Texas located in the Houston Ship Channel, and was assigned to a vessel M/V St. John, owned by

Marquette Transportation Co. Plaintiff was in the Steerage Program training for the position of

Pilot. Plaintiff’s job as a Covered Steersman had no lifting requirements and did not require

deckhand duties. The vessel was short-handed. It was one deckhand short of a full crew. Right

after Plaintiff’s watch ended the crew manager, Brandon Mattei, called Captain Greenhouse and

told him they were not sending a deckhand to the boat because we were sitting there on standby.

The captain ordered Plaintiff perform the duties of the absent deckhand and to work outside his

job classification. Since the vessel was moored, it would have been a simple process to send a

deckhand to replace the one that got off the barge. At the time that Plaintiff was sent to perform

deckhand duties, it had been at least many months since he performed the duties of a deckhand

which caused him to be deconditioned and not fit for that type of work.




                                          Page 3 of 10
         1.      Plaintiff was working in a narrow passageway on the side of the barge, MTC 1363.

                 The lock line was coiled and hanging at shoulder height, from the cover top barge.

                 It weighed over 100 pounds, we estimate. It was raining and the line was saturated.

                 When Plaintiff lifted and carried the lock line, he felt a pop in his low back and his

                 back gave out. He immediately felt excruciating pain in my low back.

         3.      Plaintiff initiated a claim for injuries under the Jones Act, Unseaworthiness,

                 Maintenance and Cure, and under General Maritime Law on or about March 13,

                 2019, against any and all named Defendants herein, and requested approval of

                 medical treatment.

                                    FIRST CAUSE OF ACTION
                                    JONES ACT NEGLIGENCE

                                                  VIII

         Plaintiff reiterates all specific allegations set forth in the foregoing paragraphs, and further

avers:

         Plaintiff is entitled to recover damages, legal compensation under the Jones Act from the

Defendants, for their negligence and for the unseaworthiness of the marine vessel, and under

General Maritime Law, for reasons as follows:


         1.     The vessel in which Plaintiff, TISDALE was working was undermanned with an

                inadequate crew. Plaintiff was forced to perform work that was not in his job

                classification by taking over duties of an absent deckhand, which was the direct

                cause of the subject accident.




                                             Page 4 of 10
                                                   IX.

         The above-described accident was caused by the Jones Act negligence of the Defendants,

and their agents, servants, employees, or others for whom they are legally responsible, in the

following, though not exclusive, respects:


         a.     Negligence in ordering Plaintiff to perform work outside of his job classification

                because as a Covered Steersman he is relieved of deckhand duties.;

         b.     Negligence in failing to provide a seaworthy vessel and a adequate crew;

         c.     Failure to provide Plaintiff with necessary medical treatment;

         d.     Failing to provide proper safety equipment and appurtenances;

         e.     Failing to have the vessel properly maintained;

         f.     Exposing the Plaintiff to unreasonable risk of injury and harm while serving aboard

                the vessel;

         g.     Not providing Plaintiff with enough equipment, assistance, and manpower to do the

                tasks assigned;

         h.     Failure to warn Plaintiff of dangers and needlessly exposing Plaintiff to

                nonapparent dangers;

         i.     Negligence implied in these allegations and those that may be shown at a trial on

                the merits.

                                  SECOND CAUSE OF ACTION
                                     UNSEAWORTHINESS

                                                   X.

         Plaintiff reiterates all specific allegations set forth in the foregoing paragraphs, and further
avers:

         Defendants, employer of the Plaintiff; are liable to the Plaintiff to compensate him for his



                                             Page 5 of 10
injuries and damages caused by the unseaworthiness of the vessel, as follows:

         a.      Defective machinery equipment and appurtenances;

         b.      Furnishing an undermanned vessel, failing to properly man and crew the vessel;

         c.      For not having the vessel properly equipped;

         d.      For inadequate equipment and safety devices and unsafe conditions abord the

                 vessel;

         e.      For inadequate and unequipped communication devices for which to communicate

                 with the Plaintiff and to warn the Plaintiff of dangers;

         f.      Failing to provide the Plaintiff with a seaworthy vessel and adequate crew;

         g.      Unseaworthiness implicit in these factual allegations and these shown at a trial on

                 the merits.

                                   THIRD CAUSE OF ACTION
                                   GENERAL MARITIME LAW

                                                   XI.

         Plaintiff reiterates all specific allegations set forth in the foregoing paragraphs, and further

avers:

         Defendants, employer of the Plaintiff, are liable to the Plaintiff to compensate him for his

injuries and damages under General Maritime Law, for reasons, as follows:

         a.      Defective machinery equipment and appurtenances;

         b.      Furnishing an undermanned vessel in failing to properly man and crew the vessel;

         c.      For not having the vessel properly equipped;

         d.      For inadequate equipment and safety devices and unsafe conditions aboard the

                 vessel;

         e.      For inadequate and unequipped communication devices for which to communicate



                                             Page 6 of 10
                 with Plaintiff and to warn Plaintiff of dangers;

         f.      Failing to provide the Plaintiff with a seaworthy vessel and adequate crew;

         g.      Not providing Plaintiff with enough equipment, assistance, and manpower to do

                 the tasks assigned;

         h.      failure to warn Plaintiff of dangers and needlessly exposing Plaintiff to

                 nonapparent dangers; and

         i.      Those actions and inactions implicit in these allegations and those shown at a trial

                 on the merits.

                                       FOURTH CAUSE OF ACTION
                                        MAINTENANCE AND CURE

                                                      XII


         Plaintiff reiterates all specific allegations set forth in the foregoing paragraphs, and further

avers:

         1.      On or about March 13, 2019, Plaintiff was injured while in the service of the vessel

                 which was owned and operated by the Defendants.                Plaintiff is entitled to

                 whatever cure has not been paid by the Defendants and for future Maintenance and

                 Cure for which he may be entitled.

         2.      Plaintiff was being paid maintenance and cure from March 13, 2019 to the date of

                 the filing of this complaint.

         3.      Defendants terminated cure payments on August 26, 2021 stating that Plaintiff had

                 reached MMI. On August 26, 2021, Plaintiff’s orthopedic surgeon, Dr. Donald

                 Dietze, ordered and recommended that the Plaintiff, Tisdale, undergo a

                 Radiofrequency Ablation.        Defendant’s refused to authorize and pay for this




                                             Page 7 of 10
                 treatment so ordered on October 21, 2021.       Plaintiff remains in pain from injuries

                 caused in the subject incident and in need of the ablation ordered by Dr. Dietze.

         Furthermore, Plaintiff has attained only temporary improvement in his medical condition,

via physical therapy and lumbar epidural steroid injections.       It is yet unknown if Plaintiff will be

in need of lumbar surgery. However, if the radiofrequency ablation is performed and fails, lumbar

surgery would be the next option.

                                              DAMAGES

                                                  XIII

         Plaintiff reiterated all specific allegations set forth in the foregoing paragraphs, and further

avers:

         Defendants, individually and collectively, named herein, are liable, onto Plaintiff, for

compensatory damages, under Jones Act, Unseaworthiness and General Maritime law, as follows:

         a.      Pain and Suffering, past, present and future;

         b.      Medical expenses, past, present and future;

         c.      Lost wages, and lost wage-earning capacity, past, present and future;

         d.      Permanent impairment, past, present and future;

         e.      Loss of enjoyment of life, past, present and future;

         f.      Mental anguish; past, present and future;

         g.      Maintenance and cure, past, present and future;

         In an amount to be determined by the Jury.




                                             Page 8 of 10
                                               XIV.

       All Defendants, individually and collectively, named herein, are liable for causes of action

as set forth on this Complaint for damages occasioned by Jones Act, negligence, unseaworthiness,

maintenance and cure, and general maritime law and damages allowed under these causes of

actions.

                                    JURY TRIAL DEMAND

       Plaintiff, WILLIAM TISDALE, is entitled and does hereby demand a trial by Jury.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff request that this Complaint be filed

and duly served upon Defendants, and after due proceedings, that judgment be rendered in the

favor of Plaintiff against the Defendants, Marquette Transportation Company, LLC; Marquette

Transportation Company Gulf-Inland, LLC; Marquette Transportation Company Offshore, LLC;

and Defendants A-Z, jointly, severally, and in solido in an amount to be determined by the jury

for compensatory damages, consequential damages, and all damages to which he is entitled,

interest from the date of initial demand until paid, interest from the date of plus all costs of this

proceeding, all costs of experts to be assigned by this Court, attorney costs and expenses, all

general and equitable relief, and, if mistaken in the relief prayed for, any other relief allowed by

law, be it general or special, at law or in equity, to which he may show is justly entitled.




                                           Page 9 of 10
RESPECTFULLY SUBMITED this the 3rd    day of February   , 2022.


                             PLAINTIFF, WILLIAM TISDALE

                             By: LoCoco & LoCoco, PLLC


                              s/Joseph A. LoCoco
                              Joseph A. LoCoco, LAB# 17305l MSB #9537
                              Virginia L. LoCoco, LAB #18307 MSB #8483
                              LoCoco & LoCoco, PLLC
                              Post Office Box 6014
                              10243 Central Avenue
                              D'Iberville, MS 39540
                              Tel. (228) 392-3799
                              Fax (228) 392-3890
                              joseph.lococo@lococolaw.com
                              virginia.lococo@lococolaw.com




                          Page 10 of 10
